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IN THE UNITED STATES DISTRICT COURT

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FOR THE DISTRICT OF NEW MEXICO Oo Sr AL, aa
MOPS Og 2. ad
Saupe
MICHAEL CHEROMIAH, Individually, - ot Ay eo"
and DIANE M. CHEROMIAH, eee 4 9: 20
Individually, and as personal ites “a, ay
representative of the estate of MICHAEL OL tee ug
CHEROMIAH, Deceased, FEN
Plaintiffs,
vs. No. CIV 97-1418 MV/RLP

UNITED STATES OF AMERICA,

Defendant.

ORDER

THIS MATTER is before the Court on the United States of America’s Cross Motion for
Partial Summary Judgment, filed June 10, 1999 [Doc. 119]. The Government’s motion will be
denied for the reasons set out in the Court’s Memorandum Opinion and Order; filed July 1, 1999

{[Doc. 144].

IT IS THEREFORE ORDERED that the United States of America’s Cross Motion for
Partial Summary Judgment, filed June 10, 1999 [Doc. 119] is hereby DENIED.
Miizpe
MARTHAWAZQGEZ

UNITED STATES DISTRICT JUDGE

Attorney for Plaintiff:
Randi McGinn

Kimberly Richards

Attomeys for Defendants:
Marilyn Hutton

Madeline Henley
